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                         UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA



FREDRICK JOHNSON                                                      CIVIL ACTION


VERSUS                                                                17-1752-SDD-RLB


MIKE CAZES, ET AL.


                               NOTICE TO COUNSEL
                      SETTING TRIAL AND RELATED DEADLINES

       This matter is assigned for trial (jury) on Monday, October 21, 2019 at 9:00 a.m.

A Final Pretrial Conference will be held in chambers on Tuesday, October 8, 2019 at 3:00

p.m.

       Accordingly;

          1. An Affidavit of Settlement Efforts shall be filed by September 9, 2019.
             The Affidavit shall conform to the Final Affidavit of Settlement Efforts
             Instructions for Judge Shelly D. Dick, located on the court’s website.

          2. A Joint Pretrial Order shall be filed fourteen (14) days prior to the
             Final Pretrial Conference. The Joint Pretrial Order shall conform to
             the Uniform Pretrial Order Notice for District Judge Shelly D. Dick,
             located on the Court’s website.

          3. Any Motions in Limine shall be filed twenty-one (21) days prior to trial
             and any Responses thereto seven (7) days after the filing of the
             motion. Motions in Limine seeking exclusion of documentary or
             testimonial evidence on the grounds of relevance or undue prejudice
             (FRE 401 and 403) should not, as a general rule, be filed. The
             relevance/prejudice inquiry is best addressed in response to trial
             objections. Counsel is advised that Motions in Limine challenging
             relevance or asserting undue prejudice should be filed only if
             warranted by extraordinary circumstances.
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   4. Proposed Voir Dire, Joint Jury Instructions, and a Proposed Verdict
      Form shall be filed twenty-one (21) days prior to trial.

   5. Electronic evidence files (an Electronic Bench Book) shall be
      provided, by each party, to the Courtroom Deputy seven (7) days
      prior to trial. These files will be utilized BY THE COURT ONLY and
      will not be provided to an opposing party. The electronic evidence
      files should be provided using the specific format outlined under the
      courtroom technology tab on the Court’s website. Physical bench
      books are no longer required for Judge Shelly D. Dick.

   6. A seven (7) person jury will be selected unless otherwise ordered.

   7. Courtroom 3 is a fully equipped electronic courtroom. Counsel shall
      contact the Courtroom Deputy at 225-389-3634 so that training in the
      use of this equipment can be scheduled and completed by trial
      counsel prior to commencement of trial.

   8. At the conclusion of trial, the parties shall retain custody of the
      physical/paper exhibits and be responsible to the Court for
      preserving them in their condition as of the time admitted until any
      appeal is resolved or the time for appeal has expired. The party
      retaining custody shall make such exhibits available to opposing
      counsel for use in preparation of an appeal and be responsible for
      their safe transmission to the appellate court, if required.

   8. Parties are directed to consult the Middle District’s Administrative
      Procedures and Local Rules which contain additional mandatory
      filing rules and procedures. The Administrative Procedures and
      Local Rules are available for viewing and download on the Court’s
      website.

Baton Rouge, Louisiana the 3rd day of May, 2018.


                                        SHELLY D. DICK, DISTRICT JUDGE
                                        MIDDLE DISTRICT OF LOUISIANA

                                        BY: Barbara K. Alcon
                                            Courtroom Deputy
